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                         EXHIBIT B
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

___________________________________
                                        )
AMERICAN FOREIGN SERVICE                )
ASSOCIATION, et al.,                    )
                                        )
                    Plaintiffs,         )      Civil Action No. 1:25-CV-352
                                        )
                    v.                  )
                                        )
                                        )
DONALD TRUMP, et al.,                   )
                                        )
                  Defendants.           )
___________________________________

                   DECLARATION OF OTTIS JOHNSON, JR.

I, Ottis Johnson, Jr., declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am the 14th District National Vice President of the American

Federation of Government Employees, AFL-CIO (AFGE), a labor organization and

unincorporated association that represents approximately 800,000 federal civilian

employees through its affiliated councils and locals in every state in the United

States.

      3.     AFGE advocates on behalf of its members and seeks to promote dignity,

safety, and fairness for government employees.

      4.     AFGE, through its affiliate AFGE Local 1534, represents over 900

employees, including 500 members, at USAID.

      5.     AFGE Local 1534 is located within AFGE’s 14th District.
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      6.     AFGE has devoted considerable resources in recent days responding to

requests and providing guidance about the Trump administrations actions at USAID.

      7.     If the vast majority of USAID direct-hire employees are placed on

administrative leave or terminated at 11:59 PM on February 7, 2025, demand for

AFGE’s assistance will rise substantially, diverting resources from other AFGE

members’ needs and other AFGE priorities.

      8.     If USAID is dissolved, AFGE will be unable to represent its members

who are USAID employees, and AFGE will also lose hundreds of members.

      9.     I have heard from and am aware of many AFGE members that have

been frightened and confused by the administration’s actions at USAID. Members

have been required to make significant choices that may involve financial and

familial consequences.

      10.    The injuries suffered by AFGE and its members are ongoing or

imminent and will persist unless this Court intervenes.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on February 7, 2025.


                                               /s/ Ottis Johnson, Jr.
                                               Ottis Johnson, Jr.
                                               National Vice President
                                               District 14, AFGE
                                               80 F. Street, NW
                                               6th Floor
                                               Washington, DC 20001




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